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       Exhibit 33
to Declaration of Scarlet Kim to Plaintiffs’
     Motion to Enforce Court Order

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                                                                                                                                                                                 United States Department of Justice
                                                                                                                                                                                 Civil Division, Federal Programs Branch
                                                                                                                                                                                 Via U.S. Mail:                                                                 Via Courier:
                                                                                                                                                                                 P.O. Box 883                                                                   1100 L Street, NW
                                                                                                                                                                                 Washington, DC 20009                                                           Washington, DC 20530
_ _ _ _ _ _ _ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ ________ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ ____ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ _________________

Liam C. Holland
Trial Attorney

July 28, 2021

DELIVERED VIA E-MAIL

Scarlet Kim
Sana Mayat
Brett Max Kaufman
Arthur B. Spitzer
American Civil Liberties Union
125 Broad Street 18th Floor
New York, NY 10004

                          RE:                       Samma, et al. v. United States Department of Defense, et al., Civil Action No. 20-
                                                    1104 (D.D.C.)

Dear Scarlet, Sana, Brett, and Arthur:

         Thank you for your letter dated July 23, 2021, describing three instances of alleged
noncompliance with the Samma injunction. As you know from our prior correspondence, Army
is actively taking additional measures to educate chains of commands about current military
policy and orders with respect to Form N-426 certification that will reduce the risk of errors in
certifying the forms. Army thinks that those measures will help minimize confusion, if any,
regarding the process and procedure that service members, and their commands, should follow to
ensure compliance with the injunction.

        Army intends to examine the allegations specified in your letter, but did not receive
sufficient information in your letter to allow such an examination to occur. Army needs as much
of the following information as possible regarding each allegation in order to examine the issue
and meaningfully respond:

                          Service Member Povolotckii’s Allegations:

                          1. Unit while at Fort Leonard Wood.
                          2. Date that SM Povolotckii’s drill sergeant informed Povolotckii that he could not
                             obtain his N-426 certification before completing Minimum Time –in-Service
                             Requirements.
                          3. Name of the drill sergeant.
                          4. Name of SM Povolotckii’s Company Commander at Fort Leonard Wood.
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       5. Date and description of SM Povolotckii’s efforts to ensure that his Commander was
          made aware of this problem, such as by taking advantage of his Commander’s open
          door policy, pursuant to Army Regulation 600–20, paragraph 2–2.

       Service Member Olubunmi Aregbesola’s Allegations:

       1. Unit, while at Fort Sill.
       2. Date that the first lieutenant informed Aregbesola that she could not obtain a certified
           Form N-426 at basic training.
       3. Name of the first lieutenant and the duty position and unit to which the first lieutenant
           belonged.
       4. Name of SM Aregbesola’s Company Commander at Fort Sill.
       5. Date and description of SM Aregbesola’s efforts to ensure that her commander at Fort
           Sill was made aware of this problem, such as by taking advantage of her
           Commander’s open door policy, pursuant to Army Regulation 600–20, paragraph 2–
           2.
       6. Unit, while at Fort Leonard Wood.
       7. Name of the drill sergeant who told SM Aregbesola that she would not receive a
           certified Form N-426 until she completed advanced individual training.
       8. Name of the drill sergeant who told SM Aregbesola that she would not receive a
           certified Form N-426 until she completed advanced individual training.
       9. Name of the drill sergeant who told SM Aregbesola that in the past year, he had never
           witnessed a service member receive a certified Form N-426.
       10. Date and description of SM Aregbesola’s efforts to ensure that her Commander at
           Fort Leonard Wood was made aware of these problems, such as by taking advantage
           of her Commander’s open door policy, pursuant to Army Regulation 600–20,
           paragraph 2–2.
       11. Current unit and the name of her company commander.

       Texas National Guard Service Member Oyindamola Oyepeju’s Allegations:

       1. Unit, while at Fort Lee.
       2. Dates and descriptions of the instances since April 2021 where SM Oyepeju tried
          repeatedly to obtain a new, certified Form N-426, but to no avail.
       3. A copy of the incorrectly filled out form.
       4. Names of individuals in SM Oyepeju’s chain of command who refused to provide her
          with a certified Form N-426 since April 2021.
       5. Dates and description of SM Oyepeju’s efforts to ensure that her Commander at Fort
          Lee was made aware of these problems, such as by taking advantage of her
          Commander’s open door policy, pursuant to Army Regulation 600–20, paragraph 2–
          2.

        In addition to the information above, to facilitate your request that Defendants assist with
the certification of these three service members, please provide these service members’ current
unit information at your earliest convenience.
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        Finally, to the extent future instances of alleged noncompliance come to your attention,
providing this type of information with respect to each service member as early as possible will
help accelerate the examination and resolution of any issue. Should future instances of alleged
noncompliance come to your attention, please direct those allegations and the requested
information to my attention.

                                             Sincerely,

                                             /s/ Liam C. Holland
